 1   Jeffrey M. Davidson (SBN 248620)                         Xavier Becerra
     Alan Bersin (SBN 63874)                                  Attorney General of California
 2   COVINGTON & BURLING LLP                                  Michael L. Newman
     One Front Street, 35th Floor                             Supervising Deputy Attorney General
 3   San Francisco, CA 94111-5356                             James F. Zahradka II (SBN 196822)
     Telephone: (415) 591-6000                                1515 Clay Street, 20th Floor
 4   Facsimile: (415) 591-6091                                P.O. Box 70550
     Email: jdavidson@cov.com,                                Oakland, CA 94612-0550
 5   abersin@cov.com                                          Telephone: (510) 879-1247
     Attorneys for Plaintiffs The Regents of the University   E-mail: James.Zahradka@doj.ca.gov
 6   of California and Janet Napolitano, in her official      Attorneys for Plaintiff State of California
     capacity as President of the University of California
 7                                                            Joseph W. Cotchett (SBN 36324)
     GIBSON, DUNN & CRUTCHER LLP                              Nancy L. Fineman (SBN 124870)
 8   Theodore J. Boutrous, Jr. (SBN 132099)                   COTCHETT, PITRE & McCARTHY, LLP
     Ethan D. Dettmer (SBN 196046)                            San Francisco Airport Office Center
 9   Jesse S. Gabriel (SBN 263137)                            840 Malcolm Road, Suite 200
     333 South Grand Avenue                                   Burlingame, CA 94010
10   Los Angeles, CA 90071-3197                               Telephone: (650) 697-6000
     Telephone: (213) 229-7000                                Facsimile: (650) 697-0577
11   Facsimile: (213) 229-7520                                Email: nfineman@cpmlegal.com
     Email: tboutrous@gibsondunn.com,                         Attorneys for Plaintiff City of San Jose
12   edettmer@gibsondunn.com,
     jgabriel@gibsondunn.com                                  Jonathan Weissglass (SBN 185008)
13   Attorneys for Plaintiffs Dulce Garcia, Miriam            Stacey M. Leyton (SBN 203827)
     Gonzalez Avila, Saul Jimenez Suarez, Viridiana           Eric P. Brown (SBN 284245)
14   Chabolla Mendoza, Norma Ramirez, and Jirayut             ALTSHULER BERZON LLP
     Latthivongskorn                                          177 Post Street, Suite 300
15                                                            San Francisco, CA 94108
                                                              Telephone: (415) 421-7151
16                                                            Facsimile: (415) 362-8064
                                                              Email: jweissglass@altber.com
17                                                            Attorneys for Plaintiffs County of Santa Clara and
                                                              Service Employees International Union Local 521
18
                                      UNITED STATES DISTRICT COURT
19                                  NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
20

21   THE REGENTS OF THE UNIVERSITY OF                         CASE NO. 17-CV-05211-WHA
     CALIFORNIA and JANET NAPOLITANO,
22   in her official capacity as President of the
     University of California,                                [PROPOSED] ORDER GRANTING
23                                                            PLAINTIFFS’ UNOPPOSED
                              Plaintiffs,                     ADMINISTRATIVE MOTION TO AMEND
24                                                            PAGE LIMITS IN CONNECTION WITH
                     v.
                                                              MOTION FOR PROVISIONAL RELIEF
25   UNITED STATES DEPARTMENT OF
     HOMELAND SECURITY and ELAINE
26   DUKE, in her official capacity as Acting                 Judge: Honorable William Alsup
     Secretary of the Department of Homeland
27   Security,
28                            Defendants.

       [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED ADMINISTRATIVE MOTION TO AMEND PAGE LIMITS IN CONNECTION
                                           WITH MOTION FOR PROVISIONAL RELIEF
                                  All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
 1
     STATE OF CALIFORNIA, STATE OF                        CASE NO. 17-CV-05235-WHA
 2   MAINE, STATE OF MARYLAND, and
     STATE OF MINNESOTA,
 3
                           Plaintiffs,
 4
                    v.
 5   U.S. DEPARTMENT OF HOMELAND
     SECURITY, ELAINE DUKE, in her official
 6   capacity as Acting Secretary of the Department
     of Homeland Security, and the UNITED
 7   STATES OF AMERICA,
 8                         Defendants.
 9

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     CITY OF SAN JOSE, a municipal                        CASE NO. 17-CV-05329-WHA
11   corporation,

12                         Plaintiff,
                    v.
13
     DONALD J. TRUMP, President of the United
14   States, in his official capacity, ELAINE C.
     DUKE, in her official capacity, and the
15   UNITED STATES OF AMERICA,
16                         Defendants.
17

18
     DULCE GARCIA, MIRIAM GONZALEZ                      CASE NO. 17-CV-05380-WHA
19   AVILA, SAUL JIMENEZ SUAREZ,
     VIRIDIANA CHABOLLA MENDOZA,
20   NORMA RAMIREZ, and JIRAYUT
     LATTHIVONGSKORN,
21                         Plaintiffs,
22                  v.
23   UNITED STATES OF AMERICA, DONALD
     J. TRUMP, in his official capacity as President
24   of the United States, U.S. DEPARTMENT OF
     HOMELAND SECURITY, and ELAINE
25   DUKE, in her official capacity as Acting
     Secretary of Homeland Security,
26
                           Defendants.
27

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       [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED ADMINISTRATIVE MOTION TO AMEND PAGE LIMITS IN CONNECTION
                                           WITH MOTION FOR PROVISIONAL RELIEF
                                  All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
 1
     COUNTY OF SANTA CLARA and                         CASE NO. 17-CV-05813-WHA
 2   SERVICE EMPLOYEES
     INTERNATIONAL UNION LOCAL 521,
 3
                          Plaintiffs,
 4
                  v.
 5   DONALD J. TRUMP, in his official capacity
     as President of the United States; JEFFERSON
 6   BEAUREGARD SESSIONS, in his official
     capacity as Attorney General of the United
 7   States; ELAINE DUKE, in her official
     capacity as Acting Secretary of Homeland
 8   Security; and U.S. DEPARTMENT OF
     HOMELAND SECURITY,
 9
                          Defendants.
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                  [PROPOSED] ORDER GRANTING UNOPPOSED ADMINISTRATIVE MOTION TO AMEND PAGE LIMITS
                                  IN CONNECTION WITH MOTION FOR PROVISIONAL RELIEF
                                 All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
 1          Having considered Plaintiffs’ Unopposed Administrative Motion To Amend Page Limits In
 2   Connection With Motion For Provisional Relief, brought pursuant to Civil L.R. 7-11 (“Plaintiffs’
 3   Motion”),
 4   IT IS HEREBY ORDERED THAT:
 5          1) Plaintiffs’ Motion is hereby granted;
 6          2) The page limit for Plaintiffs’ joint briefing in support of their motion for provisional relief,
 7               which will focus on their APA theories only, will be 40 pages, exclusive of a table of
 8               contents, table of authorities, signature blocks, exhibits, and declarations.
 9          3) The page limit for Defendants’ briefing in opposition to the motion for provisional relief will
10               be 40 pages, exclusive of a table of contents, table of authorities, signature blocks, exhibits,
11               and declarations.
12   SO ORDERED, this 27
                      __ day of __________,
                                 October    2017.
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14                                                  ____________________________________________
                                                    WILLIAM ALSUP
15                                                  UNITED STATES DISTRICT JUDGE
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                                                           1
                    [PROPOSED] ORDER GRANTING UNOPPOSED ADMINISTRATIVE MOTION TO AMEND PAGE LIMITS
                                    IN CONNECTION WITH MOTION FOR PROVISIONAL RELIEF
                                   All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
